__ A091 Bases/MTambalOOOBG:LRS ECF No. 1 filed 02/13/13 _PagelD.1 Page 1 of 6

U.S. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

United States District Court FEB 13 2013
EASTERN DISTRICT OF WASHINGTON =

SEAN F. McAVOY, CLERK
EPUTY

UNITED STATES OF AMERICA "SPOKANE, WASHINGTON
V. CRIMINAL COMPLAINT

CASENUMBER: pyat- 12-0
WILLIAM MARTIN SHAWL MT- 1%-oN 9

(Name & Address of Defendant)

I, the complainant in this case, state the following is true and correct to the best of my knowledge and belief.

Between on or about November 29, 2012, and February 12, 2013, in the Eastern District of
Washington, WILLIAM MARTIN SHAWL, a person required to register under the Sex Offender
Registration and Notification Act, and a sex offender by reason ofa conviction under Federal Law,

did knowingly fail to register and update a registration, in violation of 18 U.S.C. § 2250(a).

This complaint is based on these facts:

Continued on the attached sheet incorporated herein by this reference. I Yes LJ No

 

Signatugeof Complainant William Downey
Deputy U.S. Marshal, U.S. Marshals

Sworn to before me and signed in my presence

 

 

February 13, 2013 at Spokane, Washington

Date City and State,

Cynthia Imbrogno tf We ee
United States Magistrate Judge / LA

 

 

Name and Title of Judicial Officer Signature of Judicial Officer P30213re.mdb.wpd
Case 2:13-cr-00030-LRS ECFNo.1_ filed 02/13/13 PagelD.2 Page 2 of 6

AUSA Assigned: MFD

RE: Complaint and Arrest Warrant for William Martin SHAWL

AFFIDAVIT IN SUPPORT OF ARREST WARRANT

STATE OF WASHINGTON _ )
County of Spokane ) ~

I, William Downey, being first duly sworn on oath, deposes and states:
1. I am a Deputy with the United States Marshals Service (USMS), United
States Department of Justice, currently assigned to the U.S. Marshals Office in
Spokane, Washington. I have served as a Deputy U.S. Marshal for the past 17
years, with 14 of those years assigned to the Eastern District of Washington.
2. My regular duties as a Deputy U.S. Marshal encompass, among other tasks,
the investigation of all violations of federal law and related criminal activities,
including but not limited to, offenses contained within Title 18 of the United States
Code. I additionally assist with the movement of prisoners; serve court-ordered

summons and arrest warrants; and frequently investigate and apprehend federal

fugitives. The following information is based on my own observations, training,

Affidavit of William Downey
1 of 4

P30213re.mda.docx
Case 2:13-cr-00030-LRS ECFNo.1 filed 02/13/13 PagelD.3 Page 3 of 6

experience, and investigation, together with information provided to me by other
Deputy U.S. Marshals in my office.

3. On January 7, 2004, William Martin SHAWL was indicted in the Eastern
District of Washington for Aggravated Sexual Abuse, in violation of 18 U.S.C.
Section 2241(c).

4, On July 30, 2004, William Martin SHAWL pled guilty to Abusive Sexual
Contact With a Person Who is Less Than 12 Years Old, in violation of 18 U.S.C.
Sections 1153, 2244(a)(1) and (c). As part of the plea agreement, on page 9, line
13, William Martin SHAWL was directed to “register as a sex offender, according
to the laws of each state in which the Defendant resides, is employed, or is
attending school.”

5. On January 21, 2005, William Martin SHAWL was sentenced to 20 months
imprisonment, and 3 years of supervised release. A conviction under 18 U.S.C.
Section 2241(c) is a Tier III offense, requiring lifetime registration.

6. On January 19, 2007, William Martin SHAWL signed a “Requirements to
Register Under RCW 9A.44.130.” form with the Okanogan County Sheriff's

Office.

Affidavit of William Downey
2 of 4

P30213rce.mda.docx
Case 2:13-cr-00030-LRS ECF No.1 filed 02/13/13 PagelD.4 Page 4 of 6

ci; On July 27, 2008, and December 16, 2008, William Martin SHAWL
completed a “Registered Sex/Kidnapping Offender Change of Address Form,” with
the Okanogan County Sheriffs Office.

8. Following an Okanogan County conviction of Failure to Register, William
Martin SHAWL was released from Airway Heights Correctional Center in Eastern
Washington on November 20, 2012.

9. On November 21, 2012, William Martin SHAWL registered with the
Spokane County Sheriff’s Office, and provided his address as the Wolfe
Apartments, 240 W Sprague Ave. #12, Spokane, Washington.

10. On December 5, 2012, Deputy Downey spoke with an employee of the
Wolfe Apartments, Eddie Arnold. Mr. Arnold stated that on November 29, 2012,
William Martin SHAWL moved out. Mr. Arnold provided a handwritten note
stating “I William Shawl left the Wolfe Apts. voluntarily on 11/29/ 12.” The note
was signed by “William Shawl.” Mr. Arnold stated that it was a mutual agreement
that William Martin SHAWL leave the apartment after he and registered sex
offender Theodore Adolph were caught with marijuana, beer, and prostitutes

leaving their rooms.

Affidavit of William Downey
3 of 4

P30213rce.mda.docx
Case 2:13-cr-00030-LRS ECFNo.1 filed 02/13/13 PagelID.5 Page 5 of 6

11. On December 5, 2012, four business days after William Martin SHAWL
moved out of his apartment, Deputy Downey checked the Offender Watch database,
which is used by Washiagion State to track sex offenders. The last registration
found was from November 21, 2012, for the 240 W. Sprague address. Deputy
Downey also checked the Washington State Patrol’s Alpha list, containing all
registrations received in the State. The Alpha List was last updated on December 4,
2012, and showed the last registration for William Martin SHAWL was on
November 21, 2012. Deputy Downey checked the NCIC criminal record for

William Martin SHA WL, again finding the last registration as 240 W. Sprague,
Quder IG US¢ 2250, Sex Senders have vp
from November 21, 2012. 1. Noes dens Le update. AM cgsgs registration. <a

12. On December 7, 2012, Deputy Downey spoke with Spokane County
Sheriff’s Detective John Grandinetti, in the Sex Offender Unit. Detective
Grandinetti confirmed that William Martin SHAWL had not provided any further
registrations since November 21, 2012.

13. On February 12, 2013, William Martin SHAWL was arrested by the

Okanogan County Sheriffs Office, within the Eastern District of Washington.

Affidavit of William Downey
4 of 4

P30213rce.mda.docx
Case 2:13-cr-00030-LRS ECF No.1 filed 02/13/13 PagelD.6 Page 6 of 6

14. Based upon the foregoing facts, I believe that probable cause exists for the

issuance of a Criminal Complaint and arrest warrant for William Martin SHAWL,

for violations of Title 18, U.S.C. Section 2250.

 

Williafr Downey, Deputy Marshal
United States Marshals Service

oth
SUBSCRIBED AND SWORN to before me this_/2 fl day of February,

[}-——_

Cynthia Imbrogno
United States Magistrate Judge

2013.

 

Affidavit of William Downey
5 of 4

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